Case 9:18-cr-80203-RLR Document 2 Entered on FLSD Docket 10/17/2018 Page 1 of 7TB


                                                                                          Oct 17, 2018

                            RU M TED STA TE S D ISTR ICT C O U RT

              18-80203-CR-ROSENBERG/REINHART
                     SOJJTHERN DISTRICT OF FLORIDA
                           Case N o.
                                         18U.S.C.j371
 UN ITED STA TE S O F A M ERIC A

 V S.

 R O BER T FER DIN AN D DE LU CA ,

                 D efendant.
                                        /

                                        INFO RM ATIO N
         The U nited StatesA ttom ey charges that:
                                  GE NER AL A LLE G A TIO N S
        A tal1tim esrelevantto this Inform ation:
                                     The M edicare ProEram

         1.      TheM edicarePropam (M edicare)wasafederally fundedprogram thatprovided
 free or below -cost health care benetk s to certain individuals,prim arily the elderly,blind, and

 disabled.The benefitsavailableunderM edicare w ere govem edby federalstatutesand regulations.

 TheUnited StatesDepartmentofHea1th and Human Services (HHS),through itsagency,the
 Centers for M edicare and Medicaid Services (CM S), oversaw and administered M edicare.
 Individuals w ho received benetks under M edicare w ere com m only referred to as M edicare
                                               .




 t<beneficiaries-''

                                     The M edicaid Proeram

         2.      TheM edicaidProgram (M edicaid)wasajointlyf'
                                                            undedprogram between federal
 and state governm entj that provided assistance and healthcare coverage for categories of

 individuals whose incom e and resourcesw ere insufficientto m eetthe costs ofm edical services.

 TheFloddaM edicaid Program w asautholizqd by Chapter409,Florida Statutes,and Chapter59G,
Case 9:18-cr-80203-RLR Document 2 Entered on FLSD Docket 10/17/2018 Page 2 of 7




 FloddaAdministrativeCode.M edicaidwasadm inisteredbyCM S andtheStateofFloridaAgency

 forHealthCareAdminiskation IACHAI.
                 M edicare and M edicare w ere GGl7ederalhealth care benefitprogram s,''as defined

 byTitle48,United StatesCode,Section 1320a-7b(f).
                                 The D efendantand a R elated Com panv

        4.       RobertF.DeLuca,M .D.,P.A,d/b/aPainCenterofPalm Beach (PCPB),aFlorida
 COCPOfation,locatedat6225LakeW orthRoad,Suite#30,iakeW orth,Florida,purportedlytreated
 patients,including M edicare and M edicaid beneficiades,forpain w ith prescdptions forSchedule

 11sgbstances.

                 R O BER T FER D IN A ND DE LU CA wasa licensed m edicaldoctor in the State of

 Florida and the ownerand m edicaldirector ofPCPB.

                             C onspiracy to R eceive H eaIth Care K ickbacks
                                            (I8.U.S.C.j371)
        From in or arotmd June 2015,tllrough in or arotmd September 2018,in Palm Beach

 Cotm ty,in the Southem D istrictofFlorida,and elsew here,the defendant,

                               R O BER T FERD IN AN D DEL UC A ,

 did willfully,thatis,with intentto ftlrtherobjectofthe conspiracy,and knowingly combine,
 conspire,confederate ànd agreew ith others known and unknown to the United StatesAttorney,to

 com m it an offense against the U nited States,that is,to violate Title 42,United States Codes,
                                 .




 Section 1320a-7b(b)(1)('B),by knowingly and willfully soliciting and receiving remuneration,
 including ldckbacks and bzibes,directly and indirectly,overtly andz
                                                                   covertly,in cash and in kind,

 in ret'urn forpurchasing,leasing,and ordedng and arranging for and recom m ending purchasing,

 leasing,and ordering,any good,facility,service,and item for w hich paym entm ay be m ade in

 w hole and in partundera federalhealth care program ,thatis, M edicare and M edicaid.
Case 9:18-cr-80203-RLR Document 2 Entered on FLSD Docket 10/17/2018 Page 3 of 7



                                   Purpose ofthe C onspiracv

        6.       Itwasthe pup ose ofthe conspiracy forthe de'
                                                            fendantand his co-conspiratorsto

 unlawftzlly emich themselves by:(1)accepting kickbacksand bribesfrom co-conspiratorsfor
 arranging the authoriiation ofprescriptions for scheduled drugsthatwould selwe asthe basisof

 claimsfiledbypharmaciesforthesednzgs;and(2)causingthesubmissionofclaimstoM edicare
 andM ediçaid forprescription drugsthatthedefendantpurported to providetotheco-conspirators.

                              M anner and M eans ofthe C onspiracv

        The manner and means by which the defendani and his co-conspirators sought to
 accomplishtheobjectandpurposeoftheconspiracyincluded,amongothers,thefollowing:
                 R O B ER T FERD INA N D DE LUC A accepted cash paym entsfrom J.V .,J.A .,N .T.,

 X.J.,andothersforwriting prescriptionsforcontrolled substances.

        8.       ROBERT FERDINAND DELUCA,J.V.,J.A .,N .T.,X.J.,and others caused

 phnrmacies to submit claims to M edicare and M edicaid for filling prescriptionsfor controlled

 substances.

                 R O BER T FER D IN AN D D ELU C A ,J.V .,J.A ., N .T., X .J., and others caused

 M edicare and M edicaid to pay pharm aciesbased upon theprescription drugsprovided to theco-

 conspirators.

                                           O vertA cts

       ln f'urtheranceoftheconspiracy,andto accomplishitsobjectandpurpose,atleastoneof
the ço-conspiratorscom m itted and eaused to be com m itted,in the Southem D istrictofFlorida, at

leastoneofthefollowlngovertads,amongothers:




                                                3
Case 9:18-cr-80203-RLR Document 2 Entered on FLSD Docket 10/17/2018 Page 4 of 7



              ln oraround June 2015,atPCPB,ROBERT FERDINAND DELUCA received

 $250 from J.V.for an offce visit. One pum ose of the remuneration wms for J.V.to obtain

 prescriptionsforScheduled 11drugs.

       2.     In oraround July 2016,atPCPB,ROBERT FERDINAND DELUCA received

 $250 from J.A.for an office visit.One purpose of the remuneration was for J.A .to obtain
 prescriptions forScheduled 11drugs.

        3.      ln or arotm d July 2016,atPCPB,R O BERT FER DIN AN D DE LU CA received

 $250 from N .T.for an office visit.One purpose of the remtmeration was for N .T.to obtain

 prescriptionsfor Scheduled 11drugs.

              InorarotmdAugust2016,atP/PB,ROBERT FERDINAND DELUCA received
 $250 from X .J.for an office visit.One purpose of the rem uneration was for X.J.to obtain
 prescriptionsforScheduled 11drugs.

       A11in violation ofTitle 18,United StatesCode,Section 371.


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                                   M ICHAEL zö Iéjp'A        b.
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                                   ASSIST ' FED
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                                                ;S TESATTORNEY
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                              UNITED STATES DISTRICT COURT
     Case 9:18-cr-80203-RLR Document
                             SOUTHERN 2 DISTRI
                                         Entered
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                                                 OF FLORIDocket 10/17/2018 Page 5 of 7

U NITED STATES OF AM ERICA                       CA SE N O.
V.

                                                   C ERTIFIC ATE O F TR IA L ATTO RN EY.
ROBERT FERDINAND DELUCA,
                          Defendant.
                                         /       Superseding Case lnform ation:


CourtDivision:;(selectone)                      New Defendantts)                  Yes       No
                                                N um berofN ew Defendants
        M iami             Key W est            Totalnumberofcounts
        FTL         X      W PB      FTP
        ldo hereby certify that:
                 Ihave carefully considered the allegationsofthe indictm ent,the numberofdefendants,the number
                 ofprobable wim essesandthe legalcom plexitiesoftheIndictment/lnformation attached hereto.
        2.       1am ararethattheinformation suppliedonthisstatementwillberelied upon bytheJudgesofthis
                 CourtlnsettingtheircalendarsandschedulingcriminaltrialsunderthemandateoftheSpeedyTrial
                 Act,Tltle 28U .S.C.Section 3161.
                 Iqterpreter:     (YesorNo)      NO
                 L1stlanguageand/ordialect
        4.       Thiscasew illtake       0       daysforthe partiesto try.
                 Please check appropriate category and type ofoffense listed below :
                 (Checkonlyone)                                  (Checkonlyone)
        1        0 to 5 days                     X               Pepy
        11       6 to 10 days                                    M lnor
        1l1      11 to 20 days                                   M isdem .
        IV       21to 60 days                                    Felony                 U
        V        61daysand over
        6.       Hasthiscasebeenpreviouslytiled inthisDistrictCourt? (YesorNo) NO
        Ifyes:
        Judge:                                           CaseN o.
        (Attachcopyofdispositiveorder)
        Hasacomplaintbeenfiledinthismatter?              (YesorNo)         NO
        Ifyes:
        M agistrateCaseNo.
        Related M iscellaneousnumbers:
        Defendantts)lnfederalcustodyasof
        D
         efendantts)lnstatecpstody asof
        Rule 20 from the Distrlctof
        lsthisapotentialdeathpenaltycase?(YesorNo)               M

                 Dgesthiscaseoriginatefrom amatterpending intheNorthelm Regionofth U.S.Attol
                                                                                           mey'sOffice
                 prlorto October 14,2003?       Yes                        No X



                                                         M ICHA    E.G IL,
                                                         A SSISTAN T               STA TES ATTORN EY
                                                         FL BarN 0.95 6

*penalty Sheetts)attached                                                                          SLEV5/3/17
    Case 9:18-cr-80203-RLR Document 2 Entered on FLSD Docket 10/17/2018 Page 6 of 7



                             U NITED STA TE S D ISTR ICT C O U RT
                             SOUTH ERN DISTRICT O F FLORIDA

                                        PEN A LTY SHEET

    Defendant'sNam e:ROBERT FERDINAN D DELUCA

.
     Case N o:

    Cotmt#:1

     Conspiracy toReceiveHea1th CareKickbacks

     Title 18.United StatesCode-Section 371                       -     .

     *M ax.Penaltv:       Five (51Years'Imprisopm ent             -
     WRefersonlytopossibleterm ofincarceration,doesnotincludejossiblefines,restitution,
     specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
    Case 9:18-cr-80203-RLR Document 2 Entered on FLSD Docket 10/17/2018 Page 7 of 7


AO455(Rev.01/09)WaiverofanIndictment

                               U M TED STATESD ISTRICT C OURT
                                                   forthe
                                          Southem DistrictofFlorida

               United StatesofAmerica                )
                                                     )     CaseNo.
                                                     )
              RobertFerdinand DeLuca,                )
                       De#ndant                      )
                                        W AIVER OF AN INDICTM ENT

      Iunderstandthat1havebeen accusedofone ormore offensespunishableby imprisonmentformorethan one
year.1wasadvised in ppen courtofmy rightsandthenatureoftheproposed çhargesagainstme.

       ARerreceiving thisadvice,lwaivemy rightto prosecutionby indictmentand consentto prosecution by
information.



D ate:
                                                                           De#ndant'
                                                                                   ssignature




                                                                      Printednameofde#ndant'
                                                                                           sattorney




                                                                        Judge'
                                                                             sprintednameand title
